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 5
      Attorneys for Plaintiff IA BROWN,
 6    individually on behalf of herself, all others
      similarly situated, and the general public
 7
                            UNITED STATES DISTRICT COURT
 8

 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10    IA BROWN, an individual, on behalf of ) CASE NO.:
11
      herself, all others similarly situated, and ))
      the general public,                          ) INDIVIDUAL, CLASS,
12                                                 ) COLLECTIVE, AND
                                                   ) REPRESENTATIVE ACTION
13                          Plaintiff,             ) (Plaintiff Class and Plaintiff Collective
                                                   ) Class)
14                                                 )
         vs.                                       )
15                                                 ) COMPLAINT FOR DAMAGES,
      AUDIOLOGY DISTRIBUTION, LLC, )) PENALTIES AND RESTITUTION
      a Delaware limited liability company; ) for:
16

17    CRAIG CAMERON, an individual;                ) 1. FAILURE TO PAY OVERTIME);
                                                   )     WAGES (29 U.S.C. §§ 206 et seq.)
18    HEARX WEST, INC, a California                ) 2. FAILURE TO PAY MINIMUM
      corporation; STEVE MAHON, an                 )     WAGES (Lab. Code § 1194);
19
      individual; TINO SCHWEIGHOEFER, )) 3. FAILURE TO PAY OVERTIME);
20    an individual; HEARX WEST LLC, a )                 WAGES (Lab. Code § 1194)
      Delaware limited liability company; WS)      ) 4.  FAILURE TO PROVIDE
21
      AUDIOLOGY (CALIFORNIA), PC, a )                    MEAL/REST BREAKS (Lab. Code
22    California professional corporation;         )     § 226.7);
                                                   ) 5. FAILURE TO PROVIDE
      SIVANTOS, INC., a Delaware                   )
23                                                       ACCURATE WAGE
      corporation; and DOES 1 to 10,               )
                                                   )     STATEMENTS (Lab. Code §
24    inclusive,                                   )     226(a));
25                                                 ) 6. FAILURE TO TIMELY PAY
                            Defendants.            )
26                                                 )     ALL WAGES DUE AND OWING
                                                   )     (Lab. Code § 203;
27                                                 ) 7. UNFAIR BUSINESS PRACTICES
                                                   )      (B&PC § 17200 et seq.)
28                                                 )
                                                   )
                                                   ) DEMAND FOR JURY TRIAL

                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                 1
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 1
            Plaintiff IA BROWN, an individual, on behalf of herself, all others similarly
 2
      situated, and the general public (hereinafter “Plaintiffs”) hereby files this
 3

 4
      Complaint against Defendants AUDIOLOGY DISTRIBUTION, LLC, a Delaware

 5    limited liability company; CRAIG CAMERON, an individual; HEARX WEST,
 6    INC, a California corporation; STEVE MAHON, an individual; TINO
 7
      SCHWEIGHOEFER, an individual; HEARX WEST LLC, a Delaware limited
 8
      liability company; WS AUDIOLOGY (CALIFORNIA), PC, a California
 9

10    professional corporation; SIVANTOS, INC., a Delaware corporation; and DOES 1
11    to 10, inclusive (hereinafter collectively referred to as “Defendants”). All
12
      allegations in this Complaint are based upon information and belief except for
13
      those allegations that pertain to the Plaintiff named herein and her counsel. Each
14

15
      allegation in this Complaint either has evidentiary support or is likely to have
16    evidentiary support after a reasonable opportunity for further investigation and
17
      discovery.
18
                                 JURISDICTION AND VENUE
19

20
      1.    This Court has original jurisdiction over the federal claims alleged herein

21    pursuant to the Fair Labor Standards Act (“FLSA”) 29 U.S.C. § 216(b) which
22    states: “An action to recover the liability prescribed in either of the preceding
23
      sentences may be maintained against any employer (including a public agency) in
24
      any Federal or State court of competent jurisdiction by any one or more employees
25

26    for and in behalf of himself or themselves and others employees similarly
27    situated.” Plaintiff has or will shortly file with this court a consent to join this
28
      action.


                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                  2
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 1
      2.    This Court has supplemental jurisdiction over the state law claims alleged
 2
      herein pursuant to 28 U.S.C. § 1367 because the state law claims alleged herein all
 3

 4
      arise out of the same transaction and occurrence, i.e., the failure to properly pay all

 5    wages due—and there is no conflict between the procedures applicable to the
 6    FLSA and State law claims. Busk v. Integrity Staffing Solutions, Inc., (9th Cir.
 7
      2013) 713 F.3d 525, 530, reversed on other grounds (2014) 574 U.S. 27 (“In sum,
 8
      we agree with the other circuits to consider the issue that the fact that Rule 23 class
 9

10    actions use an opt-out mechanism while FLSA collective actions use an Opt-in
11    mechanism does not create a conflict warranting dismissal of the state law
12
      claims.”)
13
      3.    Venue is proper in this Court, because one or more of the Defendants named
14

15
      herein maintains a principal place of business or otherwise is found in this judicial
16    district and many of the acts complained of herein occurred in Los Angeles
17
      County, California, which is located within this district.
18
                                            PARTIES
19

20
      4.    Plaintiff IA BROWN is natural person was employed by Defendants within

21    the State of California for 17 years from December 15, 2004, to February 25, 2021.
22    5.    AUDIOLOGY DISTRIBUTION, LLC, a Delaware limited liability
23
      company, is a Delaware limited liability company, which does business under the
24
      fictitious business name OF HearUSA lists is principal address with the California
25

26    Secretary of State as 11400 North Jog Road, Suite 300; Palm Beach Gardens, FL
27    33418, but which also operated the business locations where Plaintiff worked as an
28
      employee, including at 2654 Griffith Park Blvd, Los Angeles, CA 90039, CA.


                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                 3
     Case 2:22-cv-04271-DMG-MRW Document 1 Filed 06/22/22 Page 4 of 26 Page ID #:4



 1
      6.    CRAIG CAMERON, an individual; at all relevant times is and/or was an
 2
      owner, director, officer, and/or managing agent of Plaintiff’s employer. He is the
 3

 4
      Chief Executive Officer of AUDIOLOGY DISTRIBUTION, LLC.

 5    7.    Defendant HEARX WEST, INC., a California corporation, that has a
 6    principal address listed with the California Secretary of State as 10455 Riverside
 7
      Drive; Palm Beach Gardens, FL 33410, but which operated the business locations
 8
      where Plaintiff worked as an employee, including at 2654 Griffith Park Blvd, Los
 9

10    Angeles, CA 90039, CA. The California Secretary of State’s website present
11    shows that HEARX WEST, INC. is in suspended status; hence, Plaintiff is
12
      obligated to seek relief from its former directors, officers, and/or managing agents,
13
      e.g., STEVE MAHON and TINO SCHWEIGHOEFER.
14

15
      8.    Defendant STEVE MAHON, an individual, at all relevant times is and/or
16    was an owner, director, officer, and/or managing agent of Plaintiff’s employer.
17
      9.    Defendant TINO SCHWEIGHOEFER, an individual, at all relevant times is
18
      and/or was an owner, director, officer, and/or managing agent of Plaintiff’s
19

20
      employer.

21    10.   HEARX WEST LLC, a Delaware limited liability company, is a Delaware
22    limited liability company, which lists is principal address with the California
23
      Secretary of State as 11400 North Jog Road, Suite 300; Palm Beach Gardens, FL
24
      33418, but which also operated the business locations where Plaintiff worked as an
25

26    employee, including at 2654 Griffith Park Blvd, Los Angeles, CA 90039, CA.
27    11.   WS AUDIOLOGY (CALIFORNIA), PC, is a California professional
28
      corporation, which lists is principal address with the California Secretary of State


                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                4
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 1
      as 11400 North Jog Road, Suite 300; Palm Beach Gardens, FL 33418, but which
 2
      also apparently operated the business locations where Plaintiff worked as an
 3

 4
      employee, including at 2654 Griffith Park Blvd, Los Angeles, CA 90039, CA.

 5    12.   SIVANTOS, INC., a Delaware corporation, which lists is principal address
 6    with the California Secretary of State as 10 Constitution Avenue; Piscataway, NJ
 7
      08855, but which also apparently operated the business locations where Plaintiff
 8
      worked as an employee, including at 2654 Griffith Park Blvd, Los Angeles, CA
 9

10    90039, CA.
11    13.   The identities of DOES 1-10 are unknown at this time, and this Complaint
12
      will be amended at such time when the identities are known to Plaintiff. Plaintiff is
13
      informed and believes that each of the Defendants sued herein as a DOE is
14

15
      responsible in some manner for the acts, omissions, or representations alleged
16    herein.
17
      14.   Any reference to “Defendant,” or “Defendants” herein shall mean
18
      “Defendants and each of them.”
19

20
      15.   Defendants AUDIOLOGY DISTRIBUTION, LLC; HEARX WEST, INC.;

21    HEARX WEST, LLC.; WS AUDIOLOGY (CALIFORNIA), PC; SIVANTOS,
22    INC.; and any other later-named defendants that are not natural persons may
23
      hereinafter be referred to as Business Entity Defendants.
24
      16.   As for the individual natural persons, who are either currently or later named
25

26    as defendants herein are or at all relevant times were owners, directors, officers,
27    and/or managing agents of Plaintiff’s employer, and were persons acting on behalf
28
      of an employer, who violated, or caused to be violated, any provision regulating


                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                5
     Case 2:22-cv-04271-DMG-MRW Document 1 Filed 06/22/22 Page 6 of 26 Page ID #:6



 1
      minimum wages or hours and days of work in any order of the Industrial Welfare
 2
      Commission, or violated, or caused to be violated, Labor Code Sections 203, 226,
 3

 4
      226.7, 1193.6, 1194, or 2802 and thus are potentially liable persons under Lab.

 5    Code § 558.1.
 6                                   ALL DEFENDANTS
 7
      17.   Plaintiff is informed and believes, and based upon such information and
 8
      belief alleges, that the Defendants, and each of them, are now and/or at all times
 9

10    mentioned in this Complaint were in some manner legally responsible for the
11    events, happenings and circumstances alleged in this Complaint.
12
      18.   Plaintiff is further informed and believes, and based upon such information
13
      and belief alleges, that at all times herein mentioned, all Defendants, and each of
14

15
      them, were and are the agents, servants, employees, joint venturers, and/or partners
16    of each of the other Defendants, and were, at all such times, acting within the
17
      course and scope of said employment and/or agency; furthermore, that each and
18
      every Defendant herein, while acting as a high corporate officer, director and/or
19

20
      managing agent, principal and/or employer, expressly directed, consented to,

21    approved, affirmed and ratified each and every action taken by the other co-
22    Defendants, as herein alleged and was responsible in whole or in part for the
23
      matters referred to herein.
24
      19.   Plaintiff is further informed and believes, and based upon such information
25

26    and belief alleges, that at all times herein mentioned, Defendants, and each of
27    them, proximately caused Plaintiff, all others similarly situated and the general
28




                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                6
     Case 2:22-cv-04271-DMG-MRW Document 1 Filed 06/22/22 Page 7 of 26 Page ID #:7



 1
      public to be subjected to the unlawful practices, wrongs, complaints, injuries
 2
      and/or damages alleged in this Complaint.
 3

 4
      20.   Defendant, and each of them, are now and/or at all times mentioned in this

 5    Complaint were members of and/or engaged in a joint venture, partnership and
 6    common enterprise, and were acting within the course and scope of, and in pursuit
 7
      of said joint venture, partnership and common enterprise and, as such, were co-
 8
      employers of the Plaintiff and the putative Class herein.
 9

10    21.   Defendants, and each of them, at all times mentioned in this Complaint
11    concurred with, contributed to, approved of, aided and abetted, condoned and/or
12
      otherwise ratified the various acts and omissions of each and every one of the other
13
      Defendants in proximately causing the injuries and/or damages alleged in this
14

15
      Complaint.
16                              FACTUAL ALLEGATIONS
17
      22.   The Business Entity Defendants herein operate audiology practices both in
18
      California and nationwide and are dispensers of hearing aids. Plaintiff was
19

20
      employed as a non-exempt, hourly paid employee by the Business Entity

21    Defendants.
22    23.   Although plaintiff frequently worked overtime, and her wage statements
23
      reflect that for such hours she worked in excess of eight per day and/or 40 per
24
      week, she was paid 1.5 times her standard hourly rate of pay.
25

26    ///
27    ///
28




                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                7
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 1
      24.   However, those same wage statements also reflect that she was not paid 1.5
 2
      times her regular rate of pay for such hours she did work in excess of eight per day
 3

 4
      and/or 40 per week.

 5    25.   Plaintiff, like all other similarly situated hourly-paid employees who
 6    dispensed hearing aids, earned commissions for doing so based in part on the price
 7
      paid by customers for the hearing aids.
 8
      26.   When paying Plaintiff for overtime hours worked, the Business Entity
 9

10    Defendants failed to calculate the hourly value of the commissions earned in a pay
11    period and then add it to the hourly rate of pay, so as to properly calculate
12
      Plaintiff’s regular rate of pay for purposes of paying the correct rate of pay for
13
      overtime wages.
14

15
      27.   Upon information and belief, no commissions were included in the regular
16    rate of pay for overtime payment calculations for either Plaintiff herein or any
17
      other member of the putative class members identified below.
18
      28.   Separately, due to the pressure of her workload and encouragement from her
19

20
      superiors, Plaintiff frequently worked through meal and rest breaks and off the

21    clock. As such, her wage statements did not accurately reflect the hours she
22    worked and the wages she actually earned.
23
      29.   The Business Entity Defendants and their agents knew or had reason to
24
      know that Plaintiff was working off the clock without compensation, yet they
25

26    suffered or permitted her to do so.
27    ///
28
      ///


                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                 8
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 1
              COLLECTIVE, CLASS, AND REPRESENTATIVE ACTION
 2
                                        ALLEGATIONS
 3

 4
      30.   Plaintiff realleges and incorporates by this reference all the paragraphs

 5    above in this Complaint as though fully set forth herein.
 6    31.   Plaintiff brings this action on behalf of herself and all other similarly
 7
      situated employees employed in California as well as throughout the United States
 8
      both as collective action under the FLSA and a class action under California law
 9

10    and Fed. Rules Civ. Proc., Rule 23.
11    32.   Plaintiff brings this action on behalf of herself and the following FLSA
12
      Regular Rate Class: All non-exempt hourly paid employees, including but not
13
      limited to Hearing Aid Dispensers and Hearing Aid Specialists, employed by the
14

15
      Business Entity Defendants who also received commissions at any time during the
16    period of commencing three years prior to the date of the filing of this action
17
      through to the date of judgment after trial.
18
      33.   With regard to the conditional certification mechanism under the FLSA,
19

20
      Plaintiff is similarly situated to those she seeks to represent for the following

21    reasons, among others:
22              a. Defendants employed Plaintiff as an hourly-paid employee who did
23
                   not receive her wages and, where applicable, overtime premium pay at
24
                   one and one half times the regular rate of pay for all hours worked
25

26                 over forty (40) hours in a workweek.
27    ///
28
      ///


                    COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                 9
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 1
              b. Common questions exist as to whether Defendant failed to pay
 2
                 Plaintiff and FLSA Regular Rate Class Members their correct
 3

 4
                 overtime rate of pay.

 5            c. Upon information and belief, Defendants employ, and have employed,
 6               in excess of 500 FLSA Class Members within the applicable statute of
 7
                 limitations.
 8
              d. Plaintiff has signed a Consent to Sue form, which attached hereto as
 9

10               Exhibit A.
11   34.   Consent to sue forms are not required for state law claims under Fed. Rules
12
     Civ. Proc., Rule 23.
13
     35.   Plaintiff also brings this action on behalf of herself and the following
14

15
     California Class and Subclasses:
16            a. California Regular Rate Class: All nonexempt hourly paid
17
                 employees, including but not limited to Hearing Aid Dispensers and
18
                 Hearing Aid Specialists, employed by the Business Entity
19

20
                 Defendants, who received commissions at any time during the period

21               of commencing four years and 178 days 1 prior to the date of the filing
22               of this action through to the date of judgment after trial.
23
              b. Itemized Wage Statement Subclass: All California Regular Rate
24
                 Class Members who were employed at any time during the period of
25

26

27
     1
      178 days are added to the statutory lookback period for the California Class and
28
     subclasses due to the tolling of the statutes of limitations under the Emergency
     Rules of Court promulgated in response to the COVID 19 pandemic.
                  COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                               10
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 1
                 commencing three years prior and 178 days to the date of the filing of
 2
                 this action through to the date of judgment after trial.
 3

 4
              c. Waiting Time Penalties Subclass: All California Regular Rate Class

 5               Members who were employed at any time during the period
 6               commencing three years and 178 days prior to the date of the filing of
 7
                 this action through to the date of judgment after trial.
 8
     36.   Class treatment is appropriate in this case for the following reasons:
 9

10            a. The Class is Sufficiently Numerous: Upon information and belief,
11               Defendants employ, and have employed, in excess of 500 persons in
12
                 each Class or Subclass within the applicable statute of limitations.
13
                 Because Defendants are legally obligated to keep accurate payroll
14

15
                 records, Plaintiff alleges that Defendants’ records will establish the
16               members of the Class as well as their numerosity.
17
              b. Common Questions of Law and Fact Exist: Common questions of law
18
                 and fact exist and predominate as to Plaintiff and Class Members,
19

20
                 including, without limitation:

21                   i. Whether Defendants failed to compensate Plaintiff and all
22                      members of the Class at the correct overtime rate by failing to
23
                        include commissions in the regular rate;
24
                    ii. Whether Defendants’ policy and practice of not including the
25

26                      proper regular rate of pay on the pay stubs they provided to
27                      Members of the Itemized Wage Statement Subclass violates the
28
                        itemized wage statement provisions of the California Labor


                  COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                              11
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 1
                     Code and the Orders of the California Industrial Wage
 2
                     Commission; and
 3

 4
                 iii. Whether Defendant willfully failed to pay Waiting Time

 5                   Penalties Subclass Members all wages due and owing at the
 6                   time of termination.
 7
            c. Plaintiff’s Claims are Typical to Those of Fellow Class Members:
 8
                  i. Plaintiff was not paid overtime on the commissions she was
 9

10                   paid, as was the case for all members of the California Regular
11                   Rate Class.
12
                  ii. Defendant did not give Plaintiff and California Regular Rate
13
                     Class Members accurate wage statements to reflect their regular
14

15
                     rate of pay and overtime compensation.
16               iii. Defendants have not timely remitted all wages due and owing
17
                     to Plaintiff and California Regular Rate Class Members who are
18
                     former employees upon their termination.
19

20
            d. Plaintiff is an Adequate Representative of the Class. Plaintiff will

21             fairly and adequately represent the interests of Class Members,
22             because Plaintiff is a member of the Class, because she has common
23
               issues of law and fact with all members of the Class, and because her
24
               claims are typical to other Class Members.
25

26          e. A Class Action is Superior/Common Claims Predominate. A class
27             action is superior to other available means for the fair and efficient
28
               adjudication of this controversy, since individual joinder of all


                COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                            12
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 1
                  members of the Class is impractical. Class action treatment will
 2
                  permit a large number of similarly situated persons to prosecute their
 3

 4
                  common claims in a single forum simultaneously, efficiently, and

 5                without unnecessary duplication of effort and expense. Furthermore,
 6                the expenses and burden of individualized litigation would make it
 7
                  difficult or impossible for individual members of the Class to redress
 8
                  the wrongs done to them, while an important public interest will be
 9

10                served by addressing the matter as a class action. Individualized
11                litigation would also present the potential for inconsistent or
12
                  contradictory judgments.
13
                              FIRST CAUSE OF ACTION
14
       Failure to Pay Overtime Wages in Violation of the FLSA, 29 U.S.C. § 207
15       (On Behalf of Plaintiff and all members of the FLSA Regular Rate Class
                        Against All Business Entity Defendants)
16

17   37.   Plaintiff realleges and incorporates by reference all the paragraphs above in
18
     the Complaint as though fully set forth herein.
19
     38.   Plaintiff realleges and incorporates by reference all the paragraphs above in
20

21
     the Complaint as though fully set forth herein.
22   39.   29 U.S.C. Section 207(a)(1) provides as follows: “Except as otherwise
23
     provided in the section, no employer shall employ any of his employees who in
24
     any workweek is engaged in commerce or in the production of goods for
25

26
     commerce, or is employed in an enterprise engaged in commerce or in the

27   production of goods for commerce, for a workweek longer than forty hours unless
28   such employee receives compensation for his employment in excess of the hours


                  COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                               13
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 1
     above specified at a rate not less than one and one-half times the regular rate at
 2
     which he is employed.”
 3

 4
     40.      By failing to include commissions in the regular rate of pay for Plaintiff and

 5   all members of the FLSA Regular Rate Class, Defendants failed to pay Plaintiffs
 6   and FLSA Regular Rate Class Members overtime for all hours worked in excess of
 7
     forty (40) hours in a week in violation of 29 U.S.C. Section 207(a)(1).
 8
     41.      Wherefore, Plaintiff demands for herself and for all others similarly situated,
 9

10   that Defendants pay Plaintiff and FLSA Regular Rate Class Members one and one
11   half times their regular hourly rate of pay for all hours worked in excess of forty
12
     (40) hours a week during the relevant time period together with liquidated
13
     damages, attorneys’ fees, costs, and interest as provided by law.
14

15
                                SECOND CAUSE OF ACTION
                   Failure to Pay Minimum Wages for All Hours Worked
16
                 (On Behalf of Plaintiff Individually and Against All Defendants)
17
     42.      Plaintiff realleges and incorporates by this reference all the paragraphs
18

19   above in this Complaint as though fully set forth herein.
20   43.      California Labor Code (hereinafter referred to as “Labor Code”) § 1194
21
     provides that “Notwithstanding any agreement to work for a lesser wage, any
22
     employee receiving less than the legal minimum wage or the legal overtime
23

24
     compensation applicable to the employee is entitled to recover in a civil action the
25   unpaid balance of the full amount of this minimum wage or overtime
26
     compensation, including interest thereon, reasonable attorney’s fees, and costs of
27
     suit.”
28




                     COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                 14
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 1
     44.   Labor Code § 1197 empowers the Industrial Welfare Commission to fix the
 2
     minimum wage and states that “the payment of a less wage than the minimum so
 3

 4
     fixed is unlawful.” Section 4 of applicable Wage Order No. 4 requires Defendants

 5   to pay its employees minimum wages for all hours worked.
 6   45.   Because Defendants failed to compensate Plaintiff for hours worked off the
 7
     clock as set forth above, Defendants failed to pay Plaintiff the required minimum
 8
     wage rate for each hour worked.
 9

10   46.   Labor Code § 1194.2(a) provides that, in an action to recover wages because
11   of the payment of a wage less than the minimum wage fixed by the IWC Wage
12
     Orders, an employee is entitled to recover liquidated damages in an amount equal
13
     to the wages unlawfully unpaid and interest thereon.
14

15
     47.   Plaintiff have received her regular rate of pay, or the minimum wage,
16   whichever is higher, in a sum according to proof for the hours worked, but not
17
     compensated, during the period of four years prior to the filing of the original
18
     complaint herein.
19

20
     48.   Defendants owe Plaintiff regular rate wages or minimum wages, whichever

21   are higher, as well as liquidated damages in an equal amount to the wages owed,
22   and have failed and refused, and continue to fail and refuse, to pay Plaintiff the
23
     amounts owed.
24
     49.   As a direct and proximate result of Defendants’ unlawful conduct, as set
25

26   forth herein, the Plaintiff has sustained damages and been deprived of minimum
27   wages and regular wages that are owed in amounts to be proved at trial, and is
28




                   COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                               15
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 1
     entitled to recovery of such amounts, plus interest, liquidated damages, and
 2
     attorneys’ fees and costs pursuant to Labor Code §§ 218.5, 1194, and 1194.2.
 3

 4
     50.    Because Defendants’ conduct described immediately above is an act of

 5   unfair competition and a business practice in violation of California Business &
 6   Professions Code § 17200, Plaintiff is entitled to recover the amounts previously
 7
     specified for four years prior to the filing of this complaint to the date of judgment
 8
     after trial.
 9

10                                THIRD CAUSE OF ACTION
                     Failure to Pay Overtime Wages for All Hours Worked
11
                    (On Behalf of Plaintiff and the California Regular Rate Class
12                                    Against All Defendants)
13
     51.    Plaintiff realleges and incorporates by this reference all the paragraphs
14
     above in this Complaint as though fully set forth herein.
15

16   52.    Labor Code §§ 510 and 1198, and Section 3 of applicable Wage Order No.
17   4, mandate that California employers pay overtime compensation at one and one
18
     half times the regular rate of pay to all non-exempt employees for all hours worked
19
     over eight (8) per day or over forty (40) per week and “any work in excess of 12
20

21
     hours in one day shall be compensated at the rate of no less than twice the regular
22   rate of pay for an employee. In addition, any work in excess of eight hours on any
23
     seventh day of a workweek shall be compensated at the rate of no less than twice
24
     the regular rate of pay of an employee.”
25

26
     53.    Section 3(A)(1) of the applicable Wage Order states in relevant part:

27   “Employment beyond eight (8) hours in any workday or more than six (6) days in
28   any workweek is permissible provided the employee is compensated for such


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 1
     overtime at not less than: (a) One and one-half (1½ ) times the employee’s regular
 2
     rate of pay for all hours worked in excess of eight (8) hours up to and including 12
 3

 4
     hours in any workday, and for the first eight (8) hours worked on the seventh (7th)

 5   consecutive day of work in a workweek; and (b) Double the employee’s regular
 6   rate of pay for all hours worked in excess of 12 hours in any workday and for all
 7
     hours worked in excess of eight (8) hours on the seventh (7th) consecutive day of
 8
     work in a workweek.”
 9

10   54.   Labor Code § 1198 states that “The maximum hours of work and the
11   standard conditions of labor fixed by the commission shall be the maximum hours
12
     of work and the standard conditions of labor for employees. The employment of
13
     any employee for longer hours than those fixed by the order or under conditions of
14

15
     labor prohibited by the order is unlawful.”
16   55.   Because Defendants failed to include commissions in the regular rate of pay
17
     when calculating the overtime rate for Plaintiff and California Regular Rate Class
18
     Members as set forth above, Defendants failed to pay Plaintiff and California
19

20
     Regular Rate Class Members their correct overtime rate.

21   56.   Wherefore, Plaintiff demands for herself and for California Regular Rate
22   Class Members that Defendant pay Plaintiff and California Regular Rate Class
23
     Members overtime pay at the applicable legal rate for all overtime hours worked
24
     together with attorneys’ fees, costs, and interest as provided by law.
25

26   57.   Because Defendant’s conduct described immediately above is an act of
27   unfair competition and a business practice in violation of California Business &
28
     Professions Code § 17200, Plaintiff and California Regular Rate Class Members


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 1
     are entitled to recover the amounts previously specified for four years prior to the
 2
     filing of this complaint to the date of judgment after trial.
 3

 4
                            FOURTH CAUSE OF ACTION
                          Failure to Provide Meal/Rest Breaks
 5            (On Behalf of Plaintiff Individually and Against All Defendants)
 6
     58.   Plaintiff realleges and incorporates by this reference all the paragraphs
 7

 8
     above in this Complaint as though fully set forth herein.
 9   59.   Section 11 of the applicable Wage Order states, in relevant part: “(A) No
10
     employer shall employ any person for a work period of more than five (5) hours
11
     without a meal period of not less than 30 minutes.
12

13
     60.   If an employer fails to provide an employee a meal period in accordance

14   with the applicable provisions of this order, the employer shall pay the employee
15   one (1) hour of pay at the employee’s regular rate of compensation for each
16
     workday that the meal period is not provided.
17
     61.   Labor Code § 226.7 states that: “a) No employer shall require any employee
18

19   to work during any meal or rest period mandated by an applicable order of the
20   Industrial Welfare Commission. (b) If an employer fails to provide an employee a
21
     meal period or rest period in accordance with an applicable order of the Industrial
22
     Welfare Commission, the employer shall pay the employee one additional hour of
23

24
     pay at the employee's regular rate of compensation for each work day that the meal
25   or rest period is not provided.” California Labor Code § 229 provides for a private
26
     right of action to enforce the provisions of Labor Code 226.7.
27
     ///
28
     ///

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 1
     62.   Labor Code § 512 provides in relevant part: “An employer may not employ
 2
     an employee for a work period of more than 10 hours per day without providing
 3

 4
     the employee with a second meal period of not less than 30 minutes . . .”

 5   63.   As described above, Plaintiff routinely worked through meal and/or rest
 6   periods as required by Defendants, but was not compensated for the missed meal
 7
     and/or rest period pursuant to 226.7 at her regular rate of pay.
 8
     64.   Wherefore, Plaintiff demands payment of one hour of pay at her regular rate
 9

10   per day for every missed mandatory meal period and one hour of pay at her regular
11   rate per day for every missed rest period, together with costs, penalties, and interest
12
     as provided by law.
13
                              FIFTH CAUSE OF ACTION
14
                    Failure to Provide Accurate Wage Statements
15           (On Behalf of Plaintiff and the Itemized Wage Statement Subclass
                                   Against All Defendant)
16

17   65.   Plaintiff realleges and incorporates by this reference all the paragraphs
18
     above in this Complaint as though fully set forth herein.
19
     66.   Defendants knowingly and intentionally failed to provide timely, accurate,
20

21
     itemized wage statements showing, inter alia, all hours worked, the gross and net
22   wages earned, and all applicable hourly rates in effect during the pay period and
23
     the corresponding number of hours worked at each hourly rate in accordance with
24
     Labor Code § 226(a) and applicable Wage Order No. 4.
25

26
     67.   Such failure caused injury to Plaintiff by, among other things, impeding her

27   from knowing the amount of wages to which she is and was legally entitled.
28




                   COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
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 1
     68.   Plaintiff’s good faith estimate of the number of pay periods in which
 2
     Defendant failed to provide accurate itemized wage statements to Plaintiff is each
 3

 4
     and every pay period during the Class Period.

 5   69.   Plaintiff is entitled to and seek injunctive relief requiring Defendant to
 6   comply with Labor Code §§ 226(a) and further seek the amount provided under
 7
     Labor Code § 226(e), including the greater of all actual damages or fifty dollars
 8
     ($50) for the initial pay period in which a violation occurred and one hundred
 9

10   dollars ($100) per employee for each violation in a subsequent pay period.
11   70.   Because Defendant’s conduct described immediately above is an act of
12
     unfair competition and a business practice in violation of California Business &
13
     Professions Code Section 17200, Plaintiff further demands the Defendant be
14

15
     enjoined from continuing to provide inaccurate pay statements that fail to include
16   the number of hours worked, the gross and net wages earned, and all applicable
17
     hourly rates in effect during the pay period and the corresponding number of hours
18
     worked at each hourly rate amount of hours worked by each employee.
19

20
                              SIXTH CAUSE OF ACTION
                   Failure to Timely Pay All Wages Due and Owing
21            (On Behalf of Plaintiff and the Waiting Time Penalties Subclass
22                               Against All Defendants)
23
     71.   Plaintiff realleges and incorporates by this reference all the paragraphs
24
     above in this Complaint as though fully set forth herein.
25

26
     72.   Labor Code §§ 201 and 202 require an employer to pay its employees all

27   wages due within the time specified by law. Labor Code § 203 provides that if an
28   employer willfully fails to timely pay such wages, the employer must continue to


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 1
     pay the subject employees' wages until the back wages are paid in full or an action
 2
     is commenced, up to a maximum of thirty (30) days of wages.
 3

 4
     73.   Labor Code § 558.1 permits Plaintiff to seek these penalties from individual

 5   defendants and not just the Business Entity Defendants.
 6   74.   Plaintiff and all Waiting Time Penalties Subclass Members (i.e., all persons
 7
     who ceased employment with the Business Entity Defendants during the statutory
 8
     lookback period) are entitled to unpaid compensation for unpaid minimum,
 9

10   regular, and overtime wages, as alleged above, but to date have not received such
11   compensation.
12
     75.   Defendants’ failure to pay such wages and compensation, as alleged above,
13
     was knowing and “willful” within the meaning of Labor Code § 203.
14

15
     76.   As a consequence of Defendants’ willful conduct in not paying
16   compensation for all hours worked, Class Members whose employment ended
17
     within the last three years from the filing of this complaint are entitled to up to
18
     thirty days’ wages under Labor Code § 203, together with interest thereon and
19

20
     attorneys' fees and costs.

21                           SEVENTH CAUSE OF ACTION
                                 Unfair Business Practices
22
                        (On Behalf of Plaintiff and the California Class
23                         Against the Business Entity Defendants)
24
     77.   Plaintiff realleges and incorporates by this reference all the paragraphs
25

26
     above in this Complaint as though fully set forth herein.

27   78.   By the conduct described throughout this Complaint, the Business Entity
28   Defendants violated the provisions of the California Labor Code as specified and


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 1
     have engaged in unlawful, deceptive, and unfair business practices prohibited by
 2
     California Business & Professions Code § 17200, et seq.
 3

 4
     79.   The Business Entity Defendants’ use of such practices resulted in greatly

 5   decreased labor costs and constitutes an unfair business practice, unfair
 6   competition, and provides an unfair advantage over Defendant’s competitors.
 7
     80.   The unlawful and unfair business practices complained of herein are
 8
     ongoing and present a threat and likelihood of continuing against the Business
 9

10   Entity Defendants’ current employees as well as other members of the general
11   public.
12
     81.   Plaintiff and California Class Members are therefore entitled to injunctive
13
     and other equitable relief against such unlawful practices in order to prevent future
14

15
     damage and to avoid a multiplicity of lawsuits.
16   82.   Accordingly, Plaintiff and the California Class Members request a
17
     preliminary and permanent injunction prohibiting the Business Entity Defendants
18
     from the unfair practices complained of herein.
19

20
     83.   Business Entity Defendants generated income as a direct result of the above-

21   mentioned unlawful and unfair business practices.
22   84.   Plaintiff and the California Class Members are therefore entitled to
23
     restitution of any and all monies withheld, acquired, and/or converted by Business
24
     Entity Defendants by means of the unfair and unlawful practices complained of
25

26   herein.
27   85.   As a result, Plaintiff and California Class Members seek restitution of their
28
     unpaid overtime and Plaintiff individually seeks restitution of her off the clock


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 1
     wages and meal and rest break premium pay, in addition to interest, attorneys’
 2
     fees, and costs, as necessary and according to proof.
 3

 4
     86.    Plaintiff and the California Class Members seeks the appointment of a

 5   receiver, as necessary, to oversee and ensure payment of the monetary relief sought
 6   from Defendant.
 7
                                       JURY DEMAND
 8

 9   87.    Plaintiff IA BROWN hereby respectfully demands a trial by jury on all
10   issues so triable.
11
                                   PRAYER FOR RELIEF
12

13
            Wherefore Plaintiff, individually and on behalf of all Class Members and all
14
     others similarly situated, prays for relief as follows relating to her class and
15
     representative action allegations:
16

17   1.     For an order conditionally certifying the action under the FLSA and
18   providing notice to all FLSA Class members so they may participate in the lawsuit;
19
     2.     For an order certifying this action as a class action on behalf of the proposed
20
     California Class and Subclasses;
21

22   3.     For an order appointing Plaintiff as the Representative of the Class and her
23   counsel as Class Counsel;
24
     4.     For damages according to proof for regular rate or minimum rate pay,
25
     whichever is higher, for all hours worked under both federal and California law;
26

27
     5.     For damages according to proof for overtime compensation for all overtime

28   hours worked under both federal and California law;


                   COMPLAINT FOR DAMAGES, PENALTIES AND RESTITUTION
                                                23
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 1
     6.    For liquidated damages;
 2
     7.    For one hour of pay at the regular rate or minimum rate pay, whichever is
 3

 4
     higher, for every day the Defendants failed to provide code compliant meal

 5   periods;
 6   8.    For one hour of pay at the regular rate or minimum rate pay, whichever is
 7
     higher, for every day the Defendants failed to provide code compliant rest periods;
 8
     9.    For waiting time penalties;
 9

10   10.   For interest as provided by law at the maximum legal rate;
11   11.   For reasonable attorneys’ fees authorized by statute, including, inter alia, 29
12
     U.S.C. § 216, Lab. Code, §§ 226, 1194, and Code Civ. Proc. § 1021.5;
13
     12.   For costs of suit incurred herein;
14

15
     13.   For pre-judgment and post-judgment interest, as provided by law; and,
16   14.   For such other and further relief as the Court may deem just and proper.
17

18
      Dated: June 22, 2022                                THE CULLEN LAW FIRM, APC
19

20                                                   By
21
                                                          PAUL T. CULLEN
                                                          Attorneys for Plaintiff
22

23

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                        EXHIBIT “A”
DocuSign Envelope ID: B63BFA72-EEFF-4A8E-A388-57BAE8299396
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                                                             Ia Brown
        1                             DECLARATION OF _______________________
                          Ia Brown
        2            I, _________________________________, declare:
        3            1.       I am a Plaintiff in the above-captioned action. The following is of my
        4   own personal knowledge and, if called as a witness, I could and would testify
        5   competently thereto.
        6            2.       I hereby consent to be joined in this suit under the Fair Labor
        7   Standards Act, 29 U.S.C. §§ 206 et seq.
        8            I declare under penalty of perjury that the foregoing is true and correct.
                                          6/22/2022                            Los Angeles
        9   Executed on (date) ____________________, in the city of _________________ in
                             California
      10    the state of ________________________.
      11
      12                                                     (Sign) ______________________________
      13                                                            Ia Brown
                                                             (Print)______________________________
      14                                                                       Plaintiff
      15
      16
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                                                  EXHIBIT A TO COMPLAINT
